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                                                    United States of America
                                            FEDERAL TRADE COMMISSION
                                                     Washington, DC 20580


Division of Advertising Practices
     Andrew Wone
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                                                                               December 28, 2021

        VIA ECF
        Hon. Louis L. Stanton, U.S.D.J.
        United States District Court
        Southern District of New York
        500 Pearl Street
        New York, NY 10007

                   Re:        FTC et al. v. Quincy Bioscience Holding Co., Inc. et al., 17-cv-00124-LLS

        Dear Judge Stanton:

                Plaintiffs Federal Trade Commission and the People of the State of New York, by Letitia
        James, Attorney General of the State of New York (“NYAG”), respectfully request additional
        time to respond to the letters submitted by Defendant Mark Underwood on December 15, 2021
        and December 21, 2021 (Docket Nos. 195 and 197), and the letter submitted by Quincy
        Bioscience Holding Company, Inc., Quincy Bioscience, LLC, Prevagen, Inc., and Quincy
        Bioscience Manufacturing, LLC on December 21, 2021 (Docket No. 196).

                 Due to holiday plans, Plaintiffs respectfully request that their responses to Defendants’
        letters be due no later than January 14, 2022.1 Counsel for Defendants consent to this request.

                                                                               Respectfully submitted,

                                                                               /s/ Andrew Wone
                                                                               Andrew Wone
                                                                               Federal Trade Commission

                                                                               /s/ Kate Matuschak
                                                                               Kate Matuschak
                                                                               New York State Office of the
                                                                               Attorney General



        cc:        All counsel of record via ECF



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         On December 21, 2021, the NYAG requested an extension of time to January 10, 2022 (Docket
        No. 198) to respond to Mr. Underwood’s December 15, 2021 letter. This letter supersedes the
        NYAG’s prior request.
